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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                              for the
                                                   District of
                                               __________      Massachusetts
                                                            District of __________

                  United States of America                       )
                             v.                                  )
                                                                 )
                                                                 )      Case No. 18-mj-6273-MPK
                       Derek Sheehan                             )
                                                                 )
                                                                 )
                          Defendant(s)


                                               CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of         03/16/17, 03/19/17 and 04/08/18      in the county of              Plymouth           in the
                       District of       Massachusetts       , the defendant(s) violated:

            Code Section                                                   Offense Description
18 U.S.C. § 2251 (a) and (e)                  sexual exploitation of children, on or about 03/16/17, 03/19/17 and 04/08/18




         This criminal complaint is based on these facts:
Please see the affidavit of FBI Special Agent Lisa A. Crandall, which is attached hereto and incorporated by reference.




         ✔ Continued on the attached sheet.
         u


                                                                                            Complainant’s signature

                                                                                  Lisa A. Crandall, Special Agent, FBI
                                                                                             Printed name and title

Sworn to before me and signed in my presence.


Date:             09/19/2018
                                                                                               Judge’s signature

City and state:                          Boston, MA                           Hon. M. Page Kelley, U.S. Magistrate Judge
                                                                                             Printed name and title
